                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Brittani Danette Atkins
                                                Plaintiff,
v.                                                             Case No.: 1:21−cv−02408
                                                               Honorable Manish S. Shah
Healthcare Revenue Recovery Group LLC
                                                Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 3, 2023:


        MINUTE entry before the Honorable Manish S. Shah: The motion to dismiss [59]
is granted. This case is dismissed without prejudice. On 6/5/23, the dismissal shall
automatically convert to one with prejudice. All pretrial filing deadlines and trial dates are
stricken. Civil case terminated. Notices mailed. (psm, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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